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                                          No. 24-1261
               _________________________________________________________________

                              UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT
               _________________________________________________________________

                                      DAVID M. KISSNER, an individual,

                                          Plaintiff-Appellant,
                                                    v.
                          LOMA PRIETA JOINT UNION SCHOOL DISTRICT; ET AL.,

                                             Defendants-Appellees.

                                On Appeal from the United States District Court
                              for the Northern District of California, San Francisco
                                            No. 5:22-cv-00949-CRB
                                             Hon. Charles R. Breyer


                           APPELLANT’S PETITION FOR PANEL REHEARING
                                   AND REHEARING EN BANC


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                                              INTRODUCTION

                    Pursuant to Fed. R. App. P. 40, Appellant David M. Kissner (“Appellant” or

             “Kissner”) respectfully petitions for Panel rehearing and rehearing en banc of this

             Court’s January 22, 2025, memorandum decision (Dkt. No. 32-1) affirming the

             District Court’s grant of summary judgment in favor of Appellees. Rehearing is

             warranted because the Panel’s decision overlooked material points of law and fact,

             misapplied controlling Supreme Court and Ninth Circuit precedent, and raised a

             question of exceptional importance regarding the scope of First Amendment

             protections for public employees.1

                              FACTUAL AND PROCEDURAL OVERVIEW

                    Plaintiff-Appellant David M. Kissner (“Appellant” or “Kissner”), a tenured

             teacher, brought this action under 42 U.S.C. § 1983 against Defendants-Appellees

             Loma Prieta Joint Union Elementary School District (“District”) and various school

             officials (collectively “Defendants”), alleging retaliation in violation of his First

             Amendment rights. Kissner claims that his termination and subsequent layoff were

             motivated by his protected speech on matters of public concern, specifically his

             criticism of the District’s policies and practices.




             1
              Fed. R. App. P. 40(b)(1)(A) provides: “A petition for Panel rehearing must … state
             with particularity each point of law or fact that the petitioner believes the court has
             overlooked or misapprehended[.]”
                                                       1
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                    Kissner was employed by the Loma Prieta Joint Union Elementary School

             District for nine years and had attained tenured status. During his employment,

             Kissner engaged in speech that touched on matters of public concern, including

             criticisms of the District’s administrative and fiscal decisions and policies. In

             response to this speech, Kissner alleges that the Defendants subjected him to adverse

             employment actions, including termination and layoff, in violation of his First

             Amendment rights.

                    Kissner challenged his dismissal before a Commission on Professional

             Competence (“Commission”), which upheld the District’s decision in part and is

             now reconsidering its decision on remand. See Request for Judicial Notice.2 He

             subsequently filed suit in federal court, arguing that the Defendants’ actions were




             2
                The Panel’s conclusion that the District Court could properly consider the
             Commission’s decision is additionally flawed because Kissner’s Petition for Writ of
             Mandate was granted in part and remanded to the Commission to “reconsider its
             actions in light of the Order and Judgment, including whether there is sufficient
             evidence to show that Kissner demonstrated evident unfitness for service under
             section 44944, subdivision (a)(6), whether discipline is warranted, and if discipline
             is warranted, what the appropriate discipline should be.” Request for Judicial Notice
             (“RJN”), Exh. 1 (Judgment/Order); Exh. 2 (Writ).

             The matter is therefore set for rehearing and reconsideration, rendering the
             Commission’s original findings moot. Id., Exh. 3 (Scheduling Order). Consequently,
             the Commission has not yet issued a final determination of dismissal or a final
             decision on whether the Governing Board retaliated against Kissner for his protected
             speech.

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             motivated by his protected speech and violated Mt. Healthy City Sch. Dist. Bd. of

             Educ. v. Doyle, 429 U.S. 274 (1977) (“Mt. Healthy”). The District Court granted

             summary judgment in favor of the Defendants, concluding that the Commission’s

             decision eliminated any issue of retaliatory motive and that Kissner’s layoff claims

             were barred by res judicata.

                      On appeal, Kissner argued that the District Court misapplied Mt. Healthy by

             failing to examine the District school board’s retaliatory motive and improperly

             resolved factual disputes at the summary judgment stage. The Ninth Circuit issued a

             memorandum disposition affirming the District Court’s ruling. The Panel denied oral

             argument and relied on the Commission’s findings, now moot,3 to conclude that the

             District’s reasons for terminating Kissner were independent of his protected speech.

                      Kissner now seeks rehearing, arguing that the Panel’s decision overlooked

             settled Ninth Circuit law precluding summary judgment where evidence exists

             demonstrating pretextual justifications for retaliation based on protected speech.

             Kissner also contends that the Panel’s decision conflicts with Supreme Court and

             other Circuit precedent on the parties’ respective burdens on summary judgment and

             that the First Amendment issues presented by this case are of exceptional

             importance.




             3
                 See n.1, supra.
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                                REASONS FOR GRANTING REHEARING

             I.     REHEARING IS NECESSARY BECAUSE THE PANEL FAILED TO
                    APPLY PROPER LEGAL STANDARDS, ADDRESS CRITICAL
                    EVIDENCE, AND CONDUCT A MIXED-MOTIVE ANALYSIS

                    A.     The Panel Failed To Perform A Proper Burden-Shifting Analysis,
                           Disregarded Critical Evidence, And Neglected A Mixed-Motive
                           Evaluation

                    Under the Ulrich v. City and Cnty. of San Francisco, 308 F.3d 968 (9th Cir.

             2002) (“Ulrich”) line of decisions, which includes Pickering v. Board of Education,

             391 U.S. 563 (1968) (“Pickering”) and Mt. Healthy, a plaintiff asserting a First

             Amendment retaliation claim must satisfy a three-phase burden-shifting framework.

             The Panel’s decision, however, misapplied this standard by failing to properly

             address the evidence at each stage. Specifically, it overlooked the significance of

             Kissner’s prima facie evidence, ignored the necessity of scrutinizing the defendants’

             rebuttal evidence, bypassed a thorough evaluation of whether the defendants’ actions

             were motivated, at least in part, by unconstitutional retaliation, and dismissed

             Kissner’s compelling evidence of pretext without proper consideration. In fact, it

             presented barely any analysis at all, even after submitting the matter on the briefs

             without oral argument. The parties were thus essentially deprived of any meaningful

             or critical analysis of the issues.

                    First, the Panel overlooked or failed to adequately consider the substantial

             prima facie evidence of unconstitutional retaliation presented by Kissner, as required


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             in the initial phase. This evidence meets the plaintiff’s burden under Ulrich but

             received no meaningful analysis from the Panel. Even if the Panel had presumed that

             Kissner met this burden, it failed to explicitly acknowledge or articulate such a

             finding.

                    Second, in the second phase of the burden-shifting scheme, the Panel

             neglected to evaluate, much less identify, the defendants’ evidence—or, more

             accurately, lack thereof—purporting to rebut Kissner’s prima facie case. In this

             regard, it referred to a sparing amount of evidence, all of which was factually

             inaccurate, accepting it at face value and interpreting it in the light most favorable

             to the defendants.

                    Critically, the Panel failed to perform a crucial “mixed-motive” analysis under

             Mt. Healthy, neglecting to evaluate whether the defendants’ decision was

             substantially or primarily motivated by unconstitutional retaliation. Without such

             analysis, it remains unclear how the defendants met their burden of showing non-

             retaliatory motives. Indeed, the central question in this case is whether a reviewing

             court may grant summary judgment upholding the termination of a tenured teacher

             without determining whether the teacher’s protected speech was a motivating factor

             in the governing board’s decision, thereby denying the teacher’s right to have the

             case heard by a finder of fact. This omission is particularly inconsistent with

             controlling legal precedent because Mt. Healthy explicitly requires courts to

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             scrutinize the school district governing board’s motive, not the findings of a

             subsequent disinterested administrative tribunal. By ignoring this fundamental

             principle, the Panel’s decision contravenes binding Supreme Court precedent and

             creates a dangerous loophole that allows public employers to evade liability for

             retaliatory terminations by hiding behind ostensibly neutral administrative

             proceedings.

                    Finally, in the third phase, the Panel failed to consider Kissner’s arguments

             demonstrating pretext. Under Ulrich, the Court was obligated to evaluate whether

             Kissner had shown that the defendants’ stated reasons for their actions were merely

             a pretext for unconstitutional retaliation. Kissner presented substantial and

             compelling evidence of pretext, which the Panel disregarded entirely. By failing to

             scrutinize this evidence, the Panel left a critical component of the Ulrich analysis

             unresolved, thereby undermining the correct application of the burden-shifting

             framework and the integrity of its decision.

                    By neglecting to address each phase of the Ulrich framework, the Panel’s

             decision conflicts with controlling precedent and warrants rehearing to ensure proper

             application of the law to the evidence presented.

                    Moreover, the Panel’s decision conflicts with established Ninth Circuit

             precedent governing First Amendment retaliation claims. In Bello-Reyes v. Gaynor,

             985 F.3d 696, 702 (9th Cir. 2021) (“Bello-Reyes”), this Court held that the burden is

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             on the employer to prove that it would have taken the same action absent the

             protected speech. Here, the Panel did not require defendants to meet this burden,

             instead deferring to the Commission’s decision without examining whether the

             governing board’s initial termination decision was motivated by retaliation. This

             approach is directly contrary to McGinest v. GTE Service Corp., 360 F.3d 1103 (9th

             Cir. 2004), which holds that questions of motive and intent are factual issues that

             must be resolved by a jury, not at the summary judgment stage, and that they may

             be inferred from circumstantial evidence. Id. at 1124.

                    B.      The Panel Ignored Mt. Healthy’s Mandate To Scrutinize The
                            Governing Board’s Motive

                    In Mt. Healthy, the Supreme Court established a critical burden-shifting

             framework for First Amendment retaliation claims. The plaintiff must first

             demonstrate that protected speech was a “substantial” or “motivating factor” in the

             adverse employment action. If established, the burden shifts to the employer to prove

             the same action would have occurred regardless of the protected speech. A public

             employer violates the First Amendment if the employee’s protected speech is a

             “substantial factor” in the termination decision, even if the employer later identifies

             a legitimate justification. Mt. Healthy explicitly requires courts to examine the

             school district governing board’s motive—not the findings of a subsequent

             administrative tribunal. Id. at 287 (“Initially, in this case, the burden was properly

             placed upon respondent to show that his conduct was constitutionally protected, and
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             that this conduct was a ‘substantial factor’ or to put it in other words, that it was a

             ‘motivating factor.’ “), citing Village of Arlington Heights v. Metro. Hous. Dev.

             Corp., 429 U.S. 252, 270 (1977), decided the same day. Under this burden-shifting

             scheme, if a plaintiff demonstrates that an official decision was motivated in part by

             an impermissible purpose, the burden shifts to the defendant to prove that the same

             decision would have been made absent the improper motive. If the defendant meets

             this burden, the plaintiff cannot attribute the alleged harm to the unlawful motive,

             and judicial intervention is unwarranted. However, if the plaintiff fails to make the

             initial showing of improper motive, the burden does not shift.

                    Here, the Governing Board—not the Commission—initiated Kissner’s

             termination. As detailed in Appellant’s Opening Brief (AOB, pp. 21-41) and Reply

             Brief (pp. 5-20), the Board’s decision to terminate Kissner was motivated by

             retaliatory animus stemming from his opposition to Measure N, a school-funding tax

             measure. The Commission’s subsequent ratification of the termination does not

             absolve the Board of liability under Mt. Healthy, which focuses on the employer’s

             intent at the time of the adverse action. Importantly, without a determination that the

             Governing Board was improperly motivated, the burden of proof never shifts back

             to the Defendants to prove that it would have terminated Kissner even absent the

             improper motive. The Panel’s failure to engage with this critical distinction




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             contravenes Mt. Healthy and creates a loophole that undermines First Amendment

             protections.

                    The Panel’s decision thus overlooked the fundamental principle that

             retaliation claims require an examination of the employer’s specific intent. As the

             Supreme Court has reaffirmed, “Retaliation is, by definition, an intentional act.”

             Gomez-Perez v. Potter, 553 U.S. 474, 480 (2008), quoting Jackson v. Birmingham

             Bd. of Educ., 544 U.S. 167, 168 (2005). By uncritically deferring to the District

             Court’s undue deference to the Commission’s determination and neglecting to

             meaningfully examine the Board’s underlying motivations, the Panel failed to

             uphold this binding judicial precedent.

                    C.      The Panel Overlooked Material Evidence Of Retaliatory Motive

                     The Panel’s tersely-written four-page decision disregarded uncontroverted

             evidence in the record demonstrating that the Board’s termination decision was

             retaliatory. This oversight demonstrates a fundamental failure to adhere to well-

             established precedent requiring courts to carefully scrutinize such evidence,

             especially at the summary judgment stage.

                            1.   Temporal Proximity

                    Kissner’s termination occurred mere weeks after the defeat of Measure N,

             which he publicly opposed, and his petition challenging the Board’s provisional

             appointment (AOB, pp. 12-15; Reply Brief, pp. 8-10). Temporal proximity,


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             especially when combined with other indicia of retaliation, has long been recognized

             as sufficient to create a triable issue of fact. In Bell v. Clackamas County, 341 F.3d

             858, 865-66 (9th Cir. 2003), the Ninth Circuit held that close temporal proximity

             between protected activity and adverse employment action can establish causation,

             particularly where additional evidence supports retaliatory motive. Here, the Panel

             failed to account for this critical timing, which strongly suggests a retaliatory nexus.

                            2.   Shifting Justifications

                    Initially, the Board justified Kissner’s layoff on budgetary grounds. However,

             it later shifted its rationale, as it became clear that his layoff would have no impact

             on the budget (AOB, pp. 17-19). Courts routinely view such inconsistent

             explanations as evidence of pretext. For example, in Poland v. Chertoff, 494 F.3d

             1174, 1183 (9th Cir. 2007), the Ninth Circuit emphasized that an employer’s shifting

             explanations for adverse employment actions can signal unlawful motives. This

             principle applies directly here, as the Board’s contradictory justifications undermine

             its credibility and further support a finding of retaliation.

                            3.   Unprecedented Dual Proceedings

                    For the first time in District history—a claim that has never been disputed—a

             tenured teacher was subjected to simultaneous dismissal and layoff proceedings

             (AOB, pp. 33-34). This extraordinary and unprecedented procedural irregularity,

             occurring amid intense political conflict with Kissner, underscores the retaliatory


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             nature of the Board’s actions. Courts have consistently viewed deviations from

             standard procedures as probative evidence of discrimination or retaliation. See

             Robinson v. Alameda Cnty., 680 Fed. Appx. 568, 570 (9th Cir. 2017) (unpublished)

             (“procedural irregularities can support an inference that an employer’s stated reason

             for an adverse action is actually pretext for its true retaliatory motive”), citing Porter

             v. Cal. Dep’t of Corrs., 419 F.3d 885, 896 (9th Cir. 2005) (“deviations from the

             [public agency’s] protocol support an inference of pretext”).

                    By disregarding this compelling evidence—temporal proximity, shifting

             justifications, and unprecedented procedural irregularities—the Panel failed to

             respect controlling precedent. In McGinest v. GTE Serv. Corp., supra, the court

             emphasized that factual disputes, particularly those involving motive, cannot be

             resolved at the summary judgment stage. “We have held that very little evidence is

             necessary to raise a genuine issue of fact regarding an employer’s motive; any

             indication of discriminatory motive may suffice to raise a question that can only be

             resolved by a fact-finder.” Id. at 1124 (cleaned up; emphasis added), quoting

             Schnidrig v. Columbia Mach., Inc., 80 F.3d 1406, 1409 (9th Cir. 1996); see also

             Lowe v. City of Monrovia, 775 F.2d 998, 1009 (9th Cir. 1985), amended, 784 F.2d

             1407 (9th Cir. 1986) (well-established that an employer’s intent to discriminate is “a

             pure question of fact” to be left to the trier of fact).




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                    The Panel’s four-page memorandum decision failed to engage with the

             compelling     evidence of temporal proximity, shifting           justifications, and

             unprecedented procedural irregularities, offering instead a perfunctory analysis that

             disregarded controlling precedent and denied Kissner the opportunity to have his

             claims fully and fairly adjudicated by a trier of fact.

             II.    REHEARING IS NECESSARY BECAUSE THE PANEL MADE
                    SERIOUS FACTUAL ERRORS

                    In addition to misapprehending the appropriate burden-shifting framework,

             the Court committed significant factual errors by accepting as true the

             unsubstantiated claims that Kissner “violated numerous District policies” and that

             parental complaints were used to justify his dismissal.

                    The record contains no evidence supporting the assertion that Kissner violated

             any District policies. Moreover, the defendants did not rely on parental complaints

             as justification for Kissner’s termination, regardless of their presence in the record,

             nor was any evidence presented to support such a claim. The Panel unreasonably

             inferred—based solely on the existence of parental complaints in the record, and

             without considering the record as a whole—that these complaints sufficiently

             justified the Defendants’ decision. In reality, the Defendants’ sole argument is that

             the Commission’s finding of evident unfitness alone constitutes sufficient evidence

             that Kissner’s termination was inevitable:



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                    The undisputed evidence establishes that the District would have
                    terminated even in the absence of plaintiff’s protected conduct, because
                    the termination decision was made by an independent Commission on
                    Professional Competence that was not influenced by any alleged
                    political animus.

             (ER-238.) (Emphasis added.)

                    Given that the record contains substantial evidence casting doubt on the

             credibility of the Defendants’ claims (ER 370-373), and Defendants have failed to

             produce any independent, admissible evidence demonstrating that termination

             would have occurred in the absence of his protected conduct, as a factual matter, the

             Panel is mistaken in concluding that Defendants’ motives are not subject to genuine

             dispute. Mere allegations of wrongdoing are insufficient to satisfy Defendants’

             burden under Mt. Healthy.

                    After ten days of hearings, the Commission found no evidence to support four

             out of five statutory grounds for dismissal, including unprofessional conduct,

             unsatisfactory performance, immoral conduct, and persistent violation of rules. (ER

             370-373.) Instead, it upheld Kissner’s dismissal solely on the vague and subjective

             ground of "evident unfitness for service" (id.), relying on only a small fraction of the

             District’s original allegations—most of which were either unsubstantiated or

             abandoned.

                    Subsequent to the District Court’s decision, the Superior Court has overturned

             the Commission’s findings and remanded the matter for reconsideration. RJN,


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             supra, Exhs. 1 & 2. A hearing on the matter is scheduled for February 11, 2025, and

             the Commission has therefore not issued a new decision. Id., Exh. 3. Accordingly,

             the Commission’s original determination is void.

                    Despite the lack of credible evidence and multiple findings that undermine the

             District’s claims, the Panel nevertheless concluded that Kissner violated numerous

             District policies. However, the District has failed to identify a single policy violation,

             and the Commission found none. The complete absence of any substantiated policy

             violation reinforces Kissner’s argument that the allegations were pretextual and

             politically motivated, and that the District itself did not genuinely believe it had

             sufficient grounds for his termination.

                    The Panel’s reasoning effectively nullifies retaliation claims. If pretextual

             allegations themselves can meet the employer’s burden of showing they would have

             terminated the employee anyway, employees would be unable to contest retaliatory

             actions. Genuine disputes remain regarding the District’s motives, requiring

             resolution by a fact-finder.

                            REASONS FOR GRANTING HEARING EN BANC

             I.     EN BANC REVIEW IS NECESSARY TO CORRECT A DECISION
                    THAT UNDERMINES FIRST AMENDMENT PROTECTIONS AND
                    CONFLICTS WITH BINDING PRECEDENT

                    En banc review is warranted under Fed. R. Civ. P. 40(b)(2) because the Panel’s

             decision threatens the uniformity of this Court’s jurisprudence, raises a question of


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             exceptional constitutional importance, and directly conflicts with Supreme Court

             and Ninth Circuit precedent. The ruling paves the way for public employers to

             sidestep liability for retaliation by delegating termination decisions to administrative

             tribunals, effectively dismantling the protections established in Mt. Healthy and

             Pickering. This petition satisfies the criteria for rehearing en banc under the Rule

             for the following reasons:

                    1.      The Panel’s decision weakens constitutional protections for public

             employees, particularly teachers, who engage in political speech, raising a question

             of exceptional importance.

                    2.      Consideration by the full court is necessary to secure uniformity. The

             Panel’s decision conflicts with Ninth Circuit precedent, including Ulrich, Bello-

             Reyes, and McGinest, creating inconsistency in the application of First Amendment

             retaliation law.

                    3.      The decision conflicts with Supreme Court precedent. The Panel’s

             ruling contravenes Mt. Healthy, Pickering, and Nieves v. Bartlett, 587 U.S. 391

             (2019), which require courts to scrutinize the employer’s motive in retaliation cases.

             II.    THE CASE PRESENTS A QUESTION OF EXCEPTIONAL
                    IMPORTANCE UNDER FRAP 40(a)(2)

                    This case raises a question of exceptional importance: whether public

             employers may shield themselves from First Amendment liability by ostensibly

             delegating termination responsibility to administrative tribunals. The Panel’s ruling,

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             which permits employers to circumvent the burden-shifting framework of Mt.

             Healthy, through procedural mechanisms, jeopardizes the constitutional rights of

             millions of public employees.

                    The Supreme Court has long held that the First Amendment protects public

             employees’ right to speak on matters of public concern, as such speech lies at the

             heart of the Constitution’s protections. In, the Court declared that the public’s interest

             in having free and open discussion of public issues, particularly by those most

             informed on the subject, is of paramount importance. Moreover, the Court

             emphasized that “[i]t is essential that [teachers] be able to speak out freely on …

             questions [of legitimate public concern] without fear of retaliatory dismissal.” Id. at

             572. Teachers, who often occupy a vital position in their communities, serve as

             critical voices on issues ranging from school governance to education policy, making

             their speech indispensable to public discourse.

                    This case exemplifies the danger posed to these constitutional protections

             when employers are allowed to insulate their retaliatory motives by delegating

             termination decisions to administrative bodies. Here, Kissner engaged in speech

             addressing school policy and governance—core matters of public interest—yet was

             subjected to retaliatory dismissal cloaked in administrative proceedings that

             purported to legitimize the Governing Board’s actions. By deferring to the

             Commission on Professional Competence (Commission) without examining

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             whether the Governing Board’s decision was motivated by unconstitutional

             retaliation, the Panel effectively nullified the protections established in Pickering

             and Mt. Healthy.

                    The Panel’s decision also departs from the Supreme Court’s emphasis on

             ensuring that public employees’ speech remains robustly protected, even when

             employers provide ostensibly legitimate reasons for adverse employment actions. In

             Mt. Healthy, the Court specifically required that the employer’s motives be

             scrutinized to determine whether the employee’s protected speech was a substantial

             or motivating factor in the adverse action. By allowing the Commission’s findings

             to preemptively shield the Governing Board from liability, the Panel disregarded the

             critical inquiry into retaliatory motive mandated by Mt. Healthy.

                    The ruling further risks chilling speech on matters of public concern by public

             employees, particularly teachers, who may fear retaliation hidden behind

             administrative procedures. This chilling effect undermines the essential balance

             struck in Pickering, where the Court recognized the need to protect employee speech

             while allowing employers to maintain efficient operations. The Panel’s decision

             upsets this balance, tipping the scales in favor of employers who can now avoid

             meaningful scrutiny of their actions by virtue of the fact that dismissal cases are

             heard by an administrative panel.




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                    Additionally, the Panel’s ruling creates a circuit split with courts that

             rigorously apply Mt. Healthy and require robust scrutiny of employers’ motives in

             retaliation cases. Courts in other circuits have consistently held that administrative

             findings cannot supplant the requirement to evaluate whether protected speech was

             a motivating factor in the employer’s decision. See, e.g., Nichols v. Dancer, 657 F.3d

             929, 933-34 (9th Cir. 2011); Connick v. Myers, 461 U.S. 138, 150-51 (1983).

             Rehearing is necessary to reaffirm that no procedural mechanism—whether

             administrative proceedings or otherwise—can override the constitutional protections

             afforded to public employees under the First Amendment.

                    By failing to enforce these constitutional safeguards, the Panel’s decision

             endangers the rights of public employees nationwide, particularly educators who

             must be free to voice concerns about school policies and governance. This case

             presents an issue of exceptional importance that warrants rehearing to restore the

             balance of protections established under Pickering and Mt. Healthy.

             III.   THE PANEL’S DECISION CONFLICTS WITH FOUNDATIONAL
                    SUPREME COURT PRECEDENTS, INCLUDING MT. HEALTHY,
                    PICKERING, AND MCDONNELL DOUGLAS, REQUIRING
                    REHEARING

                    The Panel’s decision directly conflicts with Supreme Court precedent, most

             notably Mt. Healthy, supra, by failing to apply the required burden-shifting

             framework to evaluate the Governing Board’s motivations for terminating Kissner.

             Under Mt. Healthy, once a plaintiff demonstrates that their protected speech was a

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             substantial or motivating factor in the adverse employment action, the burden shifts

             to the employer to prove that it would have taken the same action even in the absence

             of the protected conduct. This standard mandates careful scrutiny of the employer’s

             motives. Here, the Panel improperly deferred to the findings of the Commission on

             Professional Competence (Commission) rather than independently assessing the

             Governing Board’s motives, as Mt. Healthy requires.

                    By substituting the Commission’s findings for the required analysis of the

             Governing Board’s decision-making process, the Panel effectively disregarded the

             Supreme Court’s directive that courts must examine whether retaliation was a

             motivating factor in the employer’s action. The Supreme Court has also emphasized

             the role of circumstantial evidence in evaluating retaliation claims, recognizing that

             direct evidence of retaliatory intent may not always be available. Hartman v. Moore,

             547 U.S. 250, 259-60 (2006). The Panel’s failure to analyze the substantial

             circumstantial evidence presented by Kissner—such as the timing of the dismissal,

             inconsistent explanations for his termination, and evidence of animus—renders its

             decision fundamentally inconsistent with binding precedent.

                    This error is compounded by the Panel’s failure to address the implications of

             Pickering, which underscores the importance of safeguarding public employees’

             First Amendment rights, especially when their speech concerns matters of public

             interest. Under Pickering, courts must balance the employee’s right to free speech

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             against the employer’s interest in maintaining efficient operations. The Panel did not

             conduct this analysis, even though Kissner’s speech about school policy and funding

             clearly touched on matters of public concern. Furthermore, Pickering recognizes that

             the burden rests with the employer to justify restrictions on such speech. By failing

             to assess whether the Governing Board’s purported justifications outweighed

             Kissner’s First Amendment rights, the Panel bypassed a critical step required under

             Supreme Court precedent.

                    The Panel’s approach also conflicts with the burden-shifting framework

             established in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973), which

             applies in cases of retaliatory or discriminatory motive. Under McDonnell Douglas,

             once a plaintiff establishes a prima facie case of retaliation, the burden shifts to the

             employer to articulate a legitimate, non-retaliatory reason for the adverse action. If

             the employer meets this burden, the plaintiff must then show that the stated reason

             is a pretext for retaliation. Here, the Panel failed to scrutinize whether the Governing

             Board’s reasons for terminating Kissner were pretextual, despite the substantial

             evidence of inconsistencies and retaliatory animus. This omission undermines the

             proper application of McDonnell Douglas and leaves critical questions about the

             defendants’ motivations unresolved.

                    In addition, the Panel ignored Kissner’s compelling evidence of pretext,

             including the revival of stale allegations and the unprecedented dual proceedings of

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             dismissal and layoff, which suggest a coordinated effort to retaliate against him. As

             Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 148 (2000), instructs,

             courts must consider the totality of the evidence, including circumstantial evidence,

             in determining whether an employer’s stated reasons are credible. By disregarding

             these principles, the Panel departed from established precedent and failed to ensure

             the rigorous scrutiny required in First Amendment retaliation cases.

                    The Panel’s misapplication of these foundational Supreme Court

             precedents—Mt. Healthy, Pickering, and McDonnell Douglas—warrants rehearing.

             The errors not only undermine the integrity of the burden-shifting framework but

             also diminish the protections afforded to public employees who speak out on matters

             of public concern. Rehearing is essential to correct these legal missteps and ensure

             consistent application of Supreme Court jurisprudence.

             IV.    THE PANEL’S DECISION CONFLICTS WITH ESTABLISHED
                    NINTH CIRCUIT PRECEDENT, INCLUDING BELLO-REYES AND
                    ULRICH, REQUIRING REHEARING TO RESTORE UNIFORMITY

                    The Panel’s decision directly conflicts with established Ninth Circuit

             precedent, including Bello-Reyes and, by misapplying the burden of proof and

             failing to address significant evidence of retaliation. In Bello-Reyes, this Court held

             that the employer bears the burden of proving it would have taken the same action

             absent the employee’s protected speech. Similarly, in Ulrich, this Court emphasized

             that courts must thoroughly examine the employer’s motives and whether retaliatory


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             intent was a substantial or motivating factor in the adverse employment action. Here,

             the Panel improperly shifted this burden by deferring to the Commission’s findings

             instead of independently analyzing the Governing Board’s motivations, as Ulrich

             requires. This departure undermines the uniform application of the Ninth Circuit’s

             burden-shifting framework in First Amendment retaliation cases.

                    Additionally, the Panel improperly weighed evidence and drew inferences that

             should have been reserved for the jury. As this Court has consistently held, including

             in Tabares v. City of Huntington Beach, 988 F.3d 1119, 1123 n.3 (9th Cir. 2021), and

             Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986), credibility

             determinations and the weighing of evidence are core jury functions, not the role of

             the court. By discounting substantial evidence of retaliatory motive—such as the

             political environment influencing the Governing Board’s decisions and

             inconsistencies in the defendants’ explanations—the Panel improperly resolved

             factual disputes against Kissner, depriving him of the opportunity for a jury to

             evaluate these issues. Not only did the panel resolve factual disputes against Kissner,

             but they did so based on evidence that was never argued by the District and where

             Kissner never had the chance to respond with evidence of pretext.

                    Moreover, the Panel failed to recognize that the “caustic political

             environment” surrounding Kissner’s termination raises a genuine issue of material

             fact regarding the Governing Board’s motives. As this Court held in Gilbrook v. City

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             of Westminster, 177 F.3d 839, 857 (9th Cir. 1999), a politically charged atmosphere

             strongly suggests retaliatory intent, creating a jury question. By disregarding this

             precedent, the Panel ignored the significant body of circumstantial evidence pointing

             to a retaliatory motive, further compounding its departure from binding Ninth Circuit

             law.

                    These errors, combined with the Panel’s failure to adhere to the framework

             set forth in Ulrich and Bello-Reyes, create an intra-circuit conflict and weaken

             constitutional protections for public employees. Rehearing is necessary to address

             these conflicts, ensure adherence to Ninth Circuit precedent, and preserve the

             uniformity of this Court’s retaliation jurisprudence.

                                               CONCLUSION

                    For the foregoing reasons, Appellant respectfully requests that this Court grant

             panel rehearing or, alternatively, rehearing en banc. The panel’s decision conflicts

             with binding Supreme Court and Ninth Circuit precedent, including Mt. Healthy,

             Pickering, and Ulrich, by failing to properly apply the burden-shifting framework

             for First Amendment retaliation claims. Furthermore, the decision overlooked

             material evidence of retaliatory motive and ignored the necessity of a mixed-motive

             analysis, as required under Mt. Healthy.

                    Rehearing is essential to ensure the proper application of established legal

             standards, to address the significant constitutional questions raised in this case, and

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             to preserve the uniformity of this Court’s jurisprudence on First Amendment

             protections for public employees. The ruling not only undermines these protections

             but also sets a dangerous precedent allowing public employers to insulate retaliatory

             decisions behind procedural mechanisms, circumventing constitutional scrutiny.

             Appellant respectfully submits that this case involves issues of exceptional

             importance warranting this Court’s immediate and full attention.

             Date: February 5, 2025                 FREEDOM X

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                                  UNITED STATES COURT OF APPEALS
                                       FOR THE NINTH CIRCUIT

               Form 11. Certificate of Compliance for Petitions for Rehearing/Responses

                  Instructions for this form: https://www.ca9.uscourts.gov/forms/form11instructions.pdf


             9th Cir. Case Number(s) 24-1261

                    I am the attorney or self-represented party.

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                Prepared in a format, typeface, and type style that complies with Fed. R. App. P.
               32(a)(4)-(6) and contains the following number of words: 5,160                                           .
             (Petitions and responses must not exceed 4,200 words)

             OR

                 In compliance with Fed. R. App. P. 32(a)(4)-(6) and does not exceed 15 pages.


             Signature s/ WILLIAM J BECKER JR                                        Date FEBRUARY 5, 2025
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             Form 11                                                                                        Rev. 12/01/24
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                                      NOT FOR PUBLICATION                           FILED
                               UNITED STATES COURT OF APPEALS                        JAN 22 2025
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                                                                                  U.S. COURT OF APPEALS
                                       FOR THE NINTH CIRCUIT

           DAVID M. KISSNER,                               No. 24-1261
                                                           D.C. No.
                        Plaintiff - Appellant,             3:22-cv-00949-CRB
             v.                                            MEMORANDUM*

           LOMA PRIETA JOINT UNION
           ELEMENTARY SCHOOL DISTRICT; et
           al.,

                        Defendants - Appellees.

                               Appeal from the United States District Court
                                 for the Northern District of California
                               Charles R. Breyer, District Judge, Presiding

                                      Submitted January 17, 2025**
                                         Pasadena, California

           Before: TALLMAN, FRIEDLAND, and BENNETT, Circuit Judges.

                  Plaintiff-Appellant David M. Kissner appeals the district court’s grant of

           summary judgment to Defendants-Appellees on Kissner’s First Amendment



                  *
                   This disposition is not appropriate for publication and is not precedent
           except as provided by Ninth Circuit Rule 36-3.
                  **
                    The panel unanimously concludes this case is suitable for decision
           without oral argument. See Fed. R. App. P. 34(a)(2).
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           retaliation claims with respect to his termination and layoff.1 We review de novo

           the district court’s grant of summary judgment. Ventura Packers, Inc. v. F/V

           Jeanine Kathleen, 305 F.3d 913, 916 (9th Cir. 2002). Viewing the evidence in the

           light most favorable to the nonmoving party (here, Kissner), we determine

           “whether there are any genuine issues of material fact and whether the district

           court correctly applied the relevant law.” Id. We affirm.

                 To succeed on a First Amendment retaliation claim, the plaintiff must first

           show that “(1) he was subjected to an adverse employment action, such as being

           denied a benefit or privilege by [his public employer], (2) he engaged in speech

           that was constitutionally protected because it touched on a matter of public concern

           and (3) the protected expression was a substantial motivating factor for the adverse

           action.” Ulrich v. City & Cnty. of San Francisco, 308 F.3d 968, 976 (9th Cir.

           2002). Once those showings are made,

                 [T]he burden shifts to the public employer to demonstrate either that,
                 under the balancing test established by Pickering v. Bd. of Educ., 391
                 U.S. 563, 568 (1968), its legitimate administrative interests outweighed
                 [Plaintiff’s] First Amendment rights or that, under the mixed motive
                 analysis established by Mt. Healthy City Sch. Dist. v. Doyle, 429 U.S.
                 274, 287 (1977), it would have reached the same decision even in the
                 absence of the plaintiff’s protected conduct.


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                    Arguments not raised clearly and distinctly in the opening brief are
           forfeited. Avila v. Los Angeles Police Dep’t, 758 F.3d 1096, 1101 (9th Cir. 2014).
           Here, the only arguments raised clearly and distinctly in the Opening Brief concern
           Kisser’s First Amendment retaliation claims. Any challenges to the district court’s
           rulings on other claims are therefore forfeited.

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           Id. at 976-77 (cleaned up).

                 1. As to Kissner’s termination, even if Kissner made the necessary prima

           facie showing, there is no genuine dispute that Defendants would have terminated

           Kissner even in the absence of Kissner’s protected conduct. Defendants’ reasons

           for terminating Kissner (i.e., that Kissner violated numerous District policies) were

           independent of Kissner’s protected conduct, and there is no genuine dispute that

           Defendants believed those reasons, which overwhelmingly supported terminating

           Kissner’s employment.

                 Kissner argues that Defendants’ reasons for terminating him were false. But

           in assessing whether Defendants’ justifications for terminating Kissner were false,

           “it is not important whether they were objectively false” in the sense of whether

           Kissner actually did what he was accused of doing. Villiarimo v. Aloha Island Air,

           Inc., 281 F.3d 1054, 1063 (9th Cir. 2002). Rather, this court “only require[s] that

           an employer honestly believed its reason for its actions.” Id. (quotation marks and

           citation omitted). Here, Defendants provided evidence of, inter alia, firsthand

           complaints that they received from parents about Kissner’s conduct. Kissner

           provided no countervailing evidence showing that Defendants did not honestly

           believe that those complaints described conduct that had occurred, that Defendants

           did not honestly believe their other proffered reasons for terminating him, or that

           any other teacher subject to similar complaints would not also have been



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           terminated. There is thus no genuine dispute as to whether Defendants would have

           terminated Kissner regardless of his protected conduct.

                 2. Kissner’s remaining arguments as to his layoff-related claims are

           forfeited because Kissner’s opening brief does not clearly and distinctly challenge

           the district court’s ruling as to Defendants’ liability for Kissner’s layoff. See Avila,

           758 F.3d at 1101. In any event, all of Kissner’s layoff-related claims are precluded

           by a final state court judgment on the merits upholding the legality of Kissner’s

           layoff. Kissner v. Loma Prieta Joint Union Sch. Dist., Nos. H050873, H050947,

           2024 WL 1132173 (Cal. Ct. App. Mar. 15, 2024), as modified on denial of reh’g

           (Apr. 8, 2024), review denied (July 10, 2024); see Intel Corp. v. Advanced Micro

           Devices, Inc., 12 F.3d 908, 915 (9th Cir. 1993) (“[28 U.S.C. § 1738] requires that

           federal courts look to state law to determine the preclusive effect of an earlier state

           judgment.”); Boeken v. Philip Morris USA, Inc., 48 Cal. 4th 788, 797 (2010)

           (explaining that res judicata applies under California law when “(1) [a] claim or

           issue raised in the present action is identical to a claim or issue litigated in a prior

           proceeding; (2) the prior proceeding resulted in a final judgment on the merits; and

           (3) the party against whom the doctrine is being asserted was a party or in privity

           with a party to the prior proceeding” (quotation marks and citation omitted)).

                 AFFIRMED.




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                                       CERTIFICATE OF SERVICE

                    I hereby certify that on February 5, 2025, I electronically filed the foregoing

             with the Clerk of the Court for the United States Court of Appeals for the Ninth

             Circuit by using the appellate CM/ECF system.

                    Participants in the case who are registered CM/ECF users will be served by

             the appellate CM/ECF system.

             Date: February 5, 2025
                                                    FREEDOM X


                                                    /s/ William J. Becker, Jr.
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                                                    DAVID M. KISSNER




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